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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :
               v.                            :       Case No. 21-cr-647 (RDM)
                                             :
BENJAMEN BURLEW,                             :
                                             :
                      Defendant.             :

                                    JOINT STATUS REPORT

       The parties respectfully submit the following joint status report in compliance with the

Court’s Minute Order of September 21, 2022.

       On September 1, 2022, defense counsel requested an evaluation of defendant Benjamin

Burlew’s competency to stand trial and an evaluation of defendant’s sanity at the time of the

offense. 1 ECF No. 26. On September 6, 2022, the United States filed a response stating that the

government did not oppose defendant’s motion. ECF No. 27. On September 21, 2022, the Court

ordered that defendant be evaluated by Dr. Shawn Roberson, pursuant to 18 U.S.C. § 4241(b), for

the purposes of evaluating Mr. Burlew’s competency. ECF No. 30.

       The Court further ordered that Dr. Roberson submit a report to the Court and the parties,

pursuant to 18 U.S.C. § 4247(c), as to whether defendant is presently mentally competent to

understand the nature and consequences of the proceedings against him and to assist in the

preparation of his defense.

       The Court also ordered that defendant undergo an assessment by Dr. Roberson, pursuant to

18 U.S.C. § 4242, to evaluate whether—at the time of the acts constituting the offense—defendant



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        As stated in the prior joint status report, the parties have agreed to construe defendant’s
September 1, 2022 motion for an evaluation to determine defendant’s sanity at the time of the
offense as written notice under Rule 12.2(a) that the defendant presently intends to assert a defense
of insanity at the time of the alleged defense. As set forth in Rule 12.2(e), defendant reserves the
right to withdraw his intention to raise the insanity defense.
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was unable to appreciate the nature and quality or the wrongfulness of his acts as a result of severe

mental disease or defect.

       Since the September 20, 2022 joint status report, the government has retained Dr. Shawn

Roberson, and the aforementioned evaluations took place at Dr. Roberson’s offices on November 4,

2022. Dr. Roberson anticipates completing his report by the end of November, and copies of the

report will be provided to the Court and the parties.

       To provide sufficient time for the Court and the parties time to review the reports, the parties

respectfully propose that a remote competency hearing be scheduled for December 15, 16, or 19.

The parties further request that the Court make a finding that it is in the interests of justice that the

time between November 14, 2022 and the competency hearing be excluded from the Speedy Trial

Act calculation.

                                               Respectfully submitted,

                                               Counsel for the United States

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DATED: November 11, 2022               By:     /s/ Jason M. Crawford
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